From:           Lee Curry
To:
Cc:
                Scott H. Tucker; Jamie Huffman Jones
                Andrea Pate-Sowell; Rob Hodge
                                                                             EXHIBIT 1
Subject:        Adelsberger, et ux v. Union Pacific Railroad Company,
Date:           Monday, June 13, 2022 6:33:44 PM


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Dear Counselors:

Below please find a link to Plaintiffs' supplemental document disclosures:

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Please contact me if you have any questions.
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Sincerely,

Lee Curry
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300 S. Spring St., Suite 800
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